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                                                 U.S. Department of Justice
                                                                           United States Attorney
                                                                           District of Maryland
                                                                           Southern Division

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                                                                         June 20, 2014


The Honorable Roger W. Titus
United States District Judge
United States Courthouse
6500 Cherrywood Lane
Greenbelt, Maryland 20770

                      Re:      United States v. Lavon Dobie
                               Crim. No. RWT-04-0235

Dear Judge Titus:

         On today’s date, the government filed a response to Ms. Dobie’s Motion for Return of
Property (Docket No. 1678). Subsequent to filing the response, I received a telephone call from
the case agent who advised, they were in fact able to locate the watches which had been marked
as a trial exhibit, as well as photographs, and the photographs from the undeveloped film (which
was subsequently developed).

       As a result, the attached letter was sent to Ms. Dobie advising her to have her designee
contact Special Agent Stephen Snyder to make arrangements to retrieve the items.

       Given the pending motion for return of property, I wanted to advise the court of this new
development.

                                                                     Very truly yours,


                                                                     Rod J. Rosenstein
                                                                     United States Attorney


                                                                By: ________/s/______________
                                                                   Deborah A. Johnston
                                                                   Assistant United States Attorney
Attachment
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